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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                    Chapter 11


REVERSE MORTGAGE INVESTMENT                               Case No. 22-11225 (MFW)
TRUST INC., et al.,1

                                                          (Jointly Administered)
                                    Debtors.
                                                          Re: Docket No. 841




    NOTICE OF REVISED PROPOSED ORDER GRANTING PLAN ADMINISTRATOR’S
           FOURTH (SUBSTANTIVE) OMNIBUS OBJECTION TO CLAIMS

         PLEASE TAKE NOTICE that on July 31, 2023, Reverse Mortgage Investment Trust,

Inc., and its affiliated debtors (the “Debtors”), by of the Plan Administrator appointed pursuant to

the Debtors’ Third Amended Joint Chapter 11 Plan of Liquidation for Reverse Mortgage

Investment Trust Inc. and Its Debtor Subsidiaries [Docket No. 715] (as amended and

supplemented, the “Plan”)2, filed the Fourth (Substantive) Omnibus Objection to Claims [Docket

No. 841] (the “Objection”) objecting to claims in these bankruptcy cases.

         PLEASE TAKE FURTHER NOTICE that several non-substantive edits were made to

the original proposed order included with the Objection (the “Proposed Order”). None of the edits

to the Proposed Order alter the relief originally requested in the Objection.




1
         The Debtors in these Cases, along with the last four digits of each Debtor’s federal tax identification number,
         include: Reverse Mortgage Investment Trust Inc. (3421); Reverse Mortgage Funding LLC (“RMF”) (0209);
         RMIT Cash Management LLC (6241); RMIT Operating I LLC (1844); and RMIT Operating II LLC (2301).
         The location of the Debtors’ service address for purposes of these Cases is: 1455 Broad Street, 2nd Floor,
         Bloomfield, NJ 07003.
2
         Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Plan.

                                                           1
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           PLEASE TAKE FURTHER NOTICE that attached hereto as Exhibit A is a revised

proposed order granting substantially the same relief as originally requested in the Objection (the

“Revised Proposed Order”) but including the required edits.

           PLEASE TAKE FURTHER NOTICE that attached hereto as Exhibit B is a redline of

the Proposed Order filed with the Objection marked against the Revised Proposed Order to show

the changes made to the Proposed Order.

           PLEASE TAKE FURTHER NOTICE that this Notice will be served on the affected

parties.

Dated: September 21, 2023

                                      AMANDA SWIFT, AS PLAN ADMINISTRATOR

                                      /s/ Josef W. Mintz
                                      Regina Stango Kelbon, Esq. (DE No. 5444)
                                      Josef W. Mintz, Esq. (DE No. 5644)
                                      Lawrence R. Thomas, III, Esq. (DE No. 6935)
                                      BLANK ROME LLP
                                      1201 Market Street, Suite 800
                                      Wilmington, DE 19801
                                      Telephone: 302.425.6400
                                      Facsimile: 302.425.6464
                                      Email: regina.kelbon@blankrome.com
                                              josef.mintz@blankrome.com
                                              lorenzo.thomas@blankrome.com

                                      -and-

                                      Mark S. Indelicato, Esq. (admitted pro hac vice)
                                      Aleksandra Abramova, Esq. (admitted pro hac vice)
                                      THOMPSON COBURN HAHN & HESSEN LLP
                                      488 Madison Avenue
                                      New York, New York 10022
                                      Telephone: (212) 478-7200
                                      Facsimile: (212) 478-7400
                                      Email: mindelicato@thompsoncoburn.com
                                             aabramova@thompsoncoburn.com

                                      Co-Counsel for the Plan Administrator
